      Case
MIED (Rev. 3/11) 2:20-cv-10968-GCS-RSW
                 Clerk’s Entry of Judgment by Default   ECF No. 7, PageID.35 Filed 06/16/20 Page 1 of 1


                                             UNITED STATES DISTRICT COURT
                                             EASTERN DISTRICT OF MICHIGAN

Electrical Workers Local 58 Pension Trust Fund
IBEW, et al
                    Plaintiff(s),                                        Case No. 20-10968

v.                                                                       Honorable George Caram Steeh

Streamline Electric, LLC


                    Defendant(s).
                                                            /


                                      CLERK’S ENTRY OF JUDGMENT BY DEFAULT

       The Clerk’s entry of default having been entered against Defendant Streamline Electric, LLC             ,
and an affidavit having been filed;

        THEREFORE, upon the request of the Plaintiff, and pursuant to Rule 55 (b)(1) of the Federal Rules of
Civil Procedure, JUDGMENT BY DEFAULT is hereby entered in favor of the Plaintiff and against the Defendant
Streamline Electric, LLC        , in the amount of $        7,185.47       plus interest.


                                                          DAVID J. WEAVER, CLERK OF COURT
                                                          United States District Court


                                                          By: s/LGranger
                                                              Deputy Clerk


Dated: June 16, 2020
